           Case 2:10-cr-00347-DAD Document 259 Filed 04/05/13 Page 1 of 4


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   TODD D. LERAS
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2918
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 6
 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )
                                   )      CR. S-10-347 MCE
12             Plaintiff,          )
                                   )      STIPULATION AND
13                                 )      ORDER CONTINUING STATUS
          v.                       )      CONFERENCE
14                                 )
     DISHAN PERERA, LEONARD        )
15   WOODFORK, NAVPREET SINGH,     )
     LOVEDEEP SIDHU, NAVJOT SINGH, )
16   JASON CAVILEER, RAMIRO        )
     GARCIA, and TOREY MOORE,      )
17                                 )
               Defendants.         )
18                                 )
19
20        IT IS HEREBY STIPULATED between Plaintiff United States of
21   America, by and through Assistant United States Attorney Todd D.
22   Leras, and Attorney Dwight Samuel on behalf of Dishan Perera,
23   Attorney Olaf Hedberg on behalf of Leonard Woodfork, Attorney
24   John Virga on behalf of Navpreet Singh, Attorney Christopher
25   Haydn-Myer on behalf of Lovedeep Sidhu, Attorney Mark Reichel on
26   behalf of Navjot Singh, Attorney Dan Koukol on behalf of Jason
27   Cavileer, Attorney Shari Rusk on behalf of Torey Moore, and
28   Attorney Christopher Cosca on behalf of Ramiro Garcia, that the

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              Case 2:10-cr-00347-DAD Document 259 Filed 04/05/13 Page 2 of 4


 1   status conference scheduled for April 4, 2013, be continued to
 2   May 16, 2013, at 9:00 a.m.
 3           Attorney Dwight Samuel was recently appointed to represent
 4   Dishan Perera in this matter.         The government reproduced the
 5   voluminous discovery in this wiretap investigation and provided
 6   it to Mr. Samuel prior to the last scheduled status conference
 7   date.     Given the volume of material, he is still reviewing it and
 8   discussing it with his client.         In addition, continuing
 9   investigation is occurring on behalf of other defendants related
10   to the extent of their participation in the conspiracy alleged in
11   the case.     This investigation impacts the potential sentencing
12   guidelines applicable to each of the alleged participants.                Given
13   the voluminous discovery, including telephone calls intercepted
14   during the course of three successive rounds of wiretaps, counsel
15   requires additional preparation time.          The parties therefore
16   request to continue the status conference to May 16, 2013.
17           For the above-stated reasons, the parties stipulate that
18   time be excluded under 18 U.S.C. § 3161(h)(7)(B)(iv); Local Code
19   T4 (reasonable time to prepare and continuity of counsel).
20   Defense counsel have authorized Assistant U.S. Attorney Todd D.
21   Leras to sign this stipulation on their behalf.
22   DATED: April 2, 2013                 By: /s/ Todd D. Leras
                                               TODD D. LERAS
23                                             Assistant U.S. Attorney
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25
     DATED: April 2, 2013                 By: /s/ Todd D. Leras for
26                                             DWIGHT SAMUEL
                                               Attorney for Defendant
27                                             DISHAN PERERA
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           Case 2:10-cr-00347-DAD Document 259 Filed 04/05/13 Page 3 of 4


 1   DATED: April 2, 2013              By: /s/ Todd D. Leras for
                                            OLAF HEDBERG
 2                                          Attorney for Defendant LEONARD
                                            WOODFORK
 3
 4   DATED: April 2, 2013              By: /s/ Todd D. Leras for
                                            JOHN VIRGA
 5                                          Attorney for Defendant
                                            NAVPREET SINGH
 6
 7   DATED: April 2, 2013              By: /s/ Todd D. Leras for
                                            CHRISTOPHER HAYDN-MYER
 8                                          Attorney for Defendant
                                            LOVEDEEP SIDHU
 9
10   DATED: April 2, 2013              By: /s/ Todd D. Leras for
                                            MARK REICHEL
11                                          Attorney for Defendant
                                            NAVJOT SINGH
12
     DATED: April 2, 2013              By: /s/ Todd D. Leras for
13                                          DAN KOUKOL
                                            Attorney for Defendant
14                                          JASON CAVILEER
15
     DATED: April 2, 2013              By: /s/ Todd D. Leras for
16                                          CHRISTOPHER COSCA
                                            Attorney for Defendant
17                                          RAMIRO GARCIA
18   DATED: April 2, 2013              By: /s/ Todd D. Leras for
                                            SHARI L. RUSK
19                                          Attorney for Defendant
                                            TOREY MOORE
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 1         IT IS HEREBY ORDERED:
 2         1.     A status conference in this matter is set for May 16,
 3   2013, at 9:00 a.m.;
 4         2.     Based on the stipulation of the parties, the Court
 5   finds that the ends of justice outweigh the best interest of the
 6   public and Defendant in a speedy trial.         Accordingly, time under
 7   the Speedy Trial Act shall be excluded under 18 U.S.C. §
 8   3161(h)(7)(B)(iv) and Local Code T4 (reasonable time to prepare)
 9   up to and including May 16, 2013.
10         IT IS SO ORDERED
11   Date: April 04, 2013
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                                   _____________________________________________
14                                 MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                   UNITED STATES DISTRICT JUDGE
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